Case Details - Massachusetts Trial Court N3                   https://www.masscourts.org/eservices/searchresults.page?x=-A9mzHD...
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         2484CV00531 Angela Gonneville, individually and on behalf of all others
         similarly situated vs. Lens.com

            Case Type:
            Business Litigation
            Case Status:
            Open
            File Date
            02/23/2024
            DCM Track:
            B - Special Track (BLS)
            Initiating Action:
            Complex Unfair Trade Practices
            Status Date:
            02/23/2024
            Case Judge:

            Next Event:
            08/28/2024




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Case Details - Massachusetts Trial Court N3                 https://www.masscourts.org/eservices/searchresults.page?x=-A9mzHD...
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